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                       UNXTED STATES DXSTRXCT COURT
                     SOUTHERN DXSTRXCT OF CALXFORNXA
                                                                         CleRK, u.s. DI TRIOT COURT
                                                                    SOUTHER            T OF CALIFORNIA
                                                                    BY                         DEPUTY
UNITED STATES OF AMERICA,                   CASE NO. 14CR3274­

                      Plaintiff,
               vs.                          JUDGMENT OF DXSMISSAL
MARIA MARTINEZ-LOPEZ (2),

                      Defendant.


          IT APPEARING that the defendant is now entitled to be discharged
for the reason that:

     an indictment has been filed in another case against the defendant and
     the Court has granted the motion of the Government for dismissal of
     this case, without prejudice; or

     the Court has dismissed the case for unnecessary delay; or

~    the Court has granted the motion of the Government for dismissal,
     without prejudice; or

     the Court has granted the motion of the defendant for a judgment of
     acquittal: or

     a jury has been waived, and the Court has found the defendant not
     guilty; or

     the jury has returned its verdict, finding the defendant not guilty;

 X   of the offense(s) as charged in the Information:

     21:841(a) (1) - Possession of Cocaine with Intent to Distribute;

     18:2 - Aiding and Abetting

          IT IS THEREFORE ADJUDGED that the defendant is hereby discharged.


 DATED: DECEMBER 2, 2014
